Case 3:20-ap-03007   Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55   Desc
                            Exhibit 2 Page 1 of 23




                           EXHIBIT
                              4




                     EXHIBIT 2
         Case 3:20-ap-03007          Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55                       Desc
                                            Exhibit 2 Page 2 of 23
Message
From:        Jeff Hoops [/0=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
             (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=C2242A9B39D647FE8FA14C1C3C4DEE79-JEFF HOOPS]
Sent:        6/14/2019 5:21:07 PM
To:          Tiskus, Bob [rtiskus@mtb.com]
Subject:     RE: Personal Banking and Clearwater, etc.
Attachments: Hoops Family Org Chart 061419.xlsx


The ownership of the companies is as follows:

          Blackjewel, LLC
          62.5% Owned by Blackjewel Trust:, a Hoops Family Dynasty Trust:
0         37.5% Owned by Lime Rock Partners, LLC
          Lexington Coal Holdings, Inc.
          100% owned by Lexington Coal Trust, a Hoops Family Dynasty Trust
          Clearwater Investments, LLC
o         100% owned by Clearwater Trust, a Hoops Family Dynasty Trust
          Subs have various ownerships
          Org Chart Attached

Thanks     Jeff




BLACKIEWEL
Jefflimps
Blackjewel LLC.
1051 Main Street
Milton, WV 25541

Email: leff.hoopse9blackjewelous
Office: 304-390-5920
Fax: 304-290-5975
Cell: 304-541-2059




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in error, please do not read it, notify the sender and then delete,




From: Tiskus, Bob [mailto:rtiskus@mtb.corn]
Sent: Friday, June 14, 2019 3:43 PM
To: Jeff Hoops <Jeff.Hoops@blackjewel.us>
Subject: RE: Personal Banking and Clearwater, etc.

Great — here is a short list that should go a long way:

•     3-5 years of fiscal year end financials for BlackJewell and Lexington (and any related entities that you
contemplate would be party to loan agreements)
•     Current interim financials for same (most recent quarter end with YTD and comparable to prior year)




                                                                                                         DEBTORSUB_124988
        Case 3:20-ap-03007             Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55                      Desc
                                              Exhibit 2 Page 3 of 23
•       Any descriptive "decks" or other information that you have prepared on either company that would help paint
the picture
•       Summary of ownership for each company

This should be sufficient initially to allow me to have some meaningful discussions here at the bank.

Thank you!

Bob

Robert L Tiskus
Senior Market Executive
M&T Bank
436 rh Avenue, Suite 2325
Pittsburgh, PA 15219
Office: (412) 588-2716
Mobile: (724) 531-4827
rtiskus@mtb.com

73.?
  ("1' Ba

From: Jeff Hoops <jeffiloops@blackjewel,us>
Sent: Friday, June 14, 2019 3:38 PM
To: Tiskus, Bob <rtiskuse)mtb..corn>
Subject: RE: Personal Banking and Clearwater, etc.

Yes, this is fine ,,...Thanks   Jeff




.BLACKJEWEL
..kffililops
Blackjewel
1051 Main Street
Milton, WV 25541

Email: jeff.hoops@blackjewel.us
Office: 304-390-5920
Fax: 304-290-5975
Cell: 304-541-2059




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From: Tiskus, Bob [mailto:rtiskus ,:,mtb,corn]
Sent: Friday, June 14, 2019 3:33 PM




                                                                                                         DEBTORSUB_124989
           Case 3:20-ap-03007          Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55                          Desc
                                              Exhibit 2 Page 4 of 23
To: Jeff Hoops <Jeffi-loops6thlackiewel.,us>
Subject: RE: Personal Banking and Clearwater, etc.

Hi Jeff,

In speaking with our IT folks, it appears that certain data sharing services such as DropBox, Google Docs, etc. are
automatically filtered by our security — in a nutshell, I can't use these services. There are also prohibitions on my ability
to receive your confidential information (financial statements, reserve studies, etc) through a personal e-mail/data
service.

So....maybe it would be easiest if I just provide a short list of things that I'll need initially to advance our discussions on
BlackJewel and Lexington.

Are you ok with that approach?

So sorry for any inconvenience!!!

Bob

Robert J. Tiskus
Senior Market Executive
MST Bank
436 7th Avenue, Suite 2325
Pittsburgh, PA 15219
Office: (412) 588-2716
Mobile: (724) 531-4827
rtiskus@mtb.com

           Bar

From: Jeff Hoops <JeffvFloops@blackjewel.us>
Sent: Friday, June 14, 2019 2:58 PM
To: Tiskus, Bob <rtiskus@mtb.com>
Subject: RE: Personal Banking and Clearwater, etc.

It is Dropbox, I will try it again with your email...„...Thanks   Jeff




    LACKJEWEL
JeffHaw
Blackjewel
1051 Main Street
Milton, WV 25541

Email: jeff.hoops@blackjewel,us
Office: 304-390-5920
Fax: 304-290-5975
Cell: 304-541-2059




                                                                                                             DEBTORSUB_124990
          Case 3:20-ap-03007         Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55                       Desc
                                            Exhibit 2 Page 5 of 23
   Friends
  ot Coal

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From: Tiskus, Bob [mailto:rtiskus(0-)mtb.com]
Sent: Friday, June 14, 2019 2:55 PM
To: Jeff Hoops <Jeff,Hoobs@blackjewel,us>
Subject: RE: Personal Banking and Clearwater, etc.

Jeff:

Just an FYI, I have not seen any invitation/notice for the data room. I can only assume that it is being "filtered" by our
security. What data storage service/site are you using?

Thanks.

Bob

Robert J. Tiskus
Senior Market Executive
MST Bank
436 7th Avenue, Suite 2325
Pittsburgh, PA 15219
Office: (412) 588-2716
Mobile: (724) 5314827
rtiskus@mtb.com

I'i&T Bank

From: Jeff Hoops <jeff,Hoops@blackjewel,us>
Sent: Friday, June 14, 2019 2:45 PM
To: Tiskus, Bob <rtiskus@mtb.com>
Cc: Williams, Jonathan <JDWILLIAMS20)wilmin tontrust.com›; Trang, Emily <ESCHRIVER'&WilrninatonTrust.corn>
Subject: RE: Personal Banking and Clearwater, etc.

Bob:

Sorry for the delayed response as I have a call at 3pm that will run until 3:30pm, then I am open the balance of the
afternoon and evening up through 7:45 ...... __Thanks     Jeff




BLACK1EWEL
Jeff//flaps
Blackjewel
1051 Main Street
Milton, WV 25541




                                                                                                         DEBTORSUB_124991
        Case 3:20-ap-03007          Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55                        Desc
                                           Exhibit 2 Page 6 of 23
Email: leff.hoops@blackiewei,us
Office: 304-390-5920
Fax: 304-290-5975
Cell: 304-541-2059




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From: Tiskus, Bob [in.slilto:rtk.;ktis@mtj2,com1
Sent: Friday, June 14, 2019 11:08 AM
To: Jeff Hoops Kleff.Hoops@blackiewel,us>
Cc: Williams, Jonathan <I DWILLIAMS2@wilmingtontrust.com>; Trang, Emily <ESCHRIVER@WilmingtonTrustcom>
Subject: Personal Banking and Clearwater, etc.

Good morning Jeff:

Following up from our conversations yesterday/this morning, I'm copying Jonathan Williams who is one of our senior
private client advisors as well as his associate, Emily Trang — to make an initial introduction.

I had a nice conversation with Jonathan and he is very interested in formally meeting you and advancing discussions
around asset management and credit.

To that end, I'm hoping to make a phone introduction today to the extent that you are available to do so. Jonathan is
open until — 12:30 and then again after 3:00 this afternoon. Alternatively, we could certainly schedule a call for Monday
if that fits better into your schedule.

Please let me know your preference.

Thank you again for this opportunity — we look forward to working with you.

Sincerely,

Bob

Robert J. Tiskus
Senior Market Executive
N,&T sank
436 7th Avenue, Suite 2325
Pittsburgh, PA 15219
Office: (412) 588-2716
Mobile: (724) 5314827
rtiskus@mtbecom




                                                                                                         DEBTORSUB_124992
       Case 3:20-ap-03007            Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55 Desc
                                               Exhibit 2 Page 7 of 23
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                                                                                                DEBTORSU 6_124993
Case 3:20-ap-03007             Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55     Desc
                                      Exhibit 2 Page 8 of 23




PATRICIA A HOOPS                        JEFFERY A. HOOPS             REVELATION TRUST
              1                                   I                            I
         100.00%                              100.00%                       100.00%
                                                                    REVELATION ENERGY, LLC
 PERSONAL ASSETS                         PERSONAL ASSETS
 PH 2 in Clearwater, Florida                 +$1 mm IRA
$16mm Investment Account                     +$600k 401-K

            IRA
                Case 3:20-ap-03007     Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55    Desc
                                              Exhibit 2 Page 9 of 23




           LEXINGTON TRUST                                                                  TRIPLE H FAMILY, LP
                                                        BLACKJEWEL TRUST
                       I                                              I                               I
                   89.00%                                         62.50%                             50%
        LEXINGTON COAL COMPANY                             BLACKJEWEL, LLC              OMNI INSURANCE GROUP. LLC

               $40mm Trust Funds                              +$400mm Assets                    JERRY NEAL 50%
                +$125mm Cash                                    $1.5mm Cash

              JEFF HOOPS, SR. 1%                        Lime Rock Partners, LLC 32.5%

                       I                                              I



                   30.00%                                         30.00%
                                                BLACKJEWEL MARKETING & SALES, LLC
                   KEWA
         +$1BN RECLAMATION BOND FUND                            30% UNIPER

                       I                                40% JAVELIN COMMODITIES
                   100.00%
CONSTRUCTION & RECLAMATION SERVICES, LLC

            TODD TACKETT, 25% NPI


                       I
                   100.00%
        PREP PLANT SOLUTIONS, LLC
                         Case 3:20-ap-03007    Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55       Desc
                                                      Exhibit 2 JEFFERY,
                                                                  Page 10JEREMY,
                                                                          of 23  JOSH TRUSTEES
                                                                            I
                                                                    CLEAR WATER TRUST

                                                             .
                                                                  UNITED BANK INVESTMENT ACCOUNT
                                                                                                   I
                                                                               I
                                                                            99% LP
                                                                                                       CLEARWATER INVESTMENT, LLC


                                                                                                                        I
          50%                 .
                                           50% NPI
                                                             .
                                                                               50%
                                                                                                   .
                                                                                                                     100%
BLACK DIAMOND INSURANCE           WALLS & ASSOCIATES, PLLC           ACTIVE MEDICAL, LLC
                                                                                                         United Bank Investment Acct
   HEATHER HAMMOND 25%                BRENT WALLS OWNER                  ROBERT TANT 25%                        $15mm Investments
JACOBS MANAGEMENT GROUP 25%                                             BILL BROWNING 25%

                                                                                I

                                                                               50%

                                                                  APPALACHIAN MEDICAL, LLC

                                                             1                                     I
                    Case 3:20-ap-03007   Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55        Desc
                                                Exhibit 2 Page 11 of 23




PATRICIA A. HOOPS
         ㅣ
         -
      1% GP




         100%                                100%                            100%                              100%
GENESIS TRUCKING, LLC              TRIPLE H AVIATION, LLC       LEXINGTON COAL ROYALTY CO.         REPUBLIC SUPERIOR PRODUCTS

                                    ■
  DANNY MUSICK 20% NP!                    350 KING AIR          VARIOUS OVERRIDING ROYALTY STRMS          SUNNY KNOTT SHOP
                                  BELL LONG RANGER HELICOPTER        800mm TON OF RESERVES
                                    ■
                              Case 3:20-ap-03007   Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55       Desc
                                                          Exhibit 2 Page 12 of 23




                                                                                                                                             1
            100%                                   100%                               45%                                50%
TRIPLE H REAL ESTATE, LLC             GRAND PATRICIAN RESORT, LLC      AQUATIC RESOURCES, LLC               FORREST EQUIPMENT, LLC

       WINDY HILL FARM                  200 ACRE RESORT DEVELOPMENT     "$8nnm per year Water Quality Lab     +30nnm per year Rebuild Shop
   DANS ISLAND PH6 CONDOL

ONE EMERALD PLACE MILTON, WV

12,000 ACRES MARTIN COUNTY,KY



      2,500 ACRES TEN N.



    43 TRACTS IN KY, TN, WV
+70,000 ACRE RANCH IN WYOMING
Case 3:20-ap-03007   Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55   Desc
                            Exhibit 2 Page 13 of 23




                                    100%
                        LEGENDS CONSTRUCTION CO., LLC

                                 General Construction
               Case 3:20-ap-03007               Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55                           Desc
                                                       Exhibit 2 Page 14 of 23
         From:                          Jeff Hoops </0=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                                        (FYDIBOHF23SPDLT)/CN=RECIPIENTS
                                        /CN=C2242A9B39D647FE8FA14C1C3C4DEE79-JEFF HOOPS>
        To:                             Jerod Mount
        Sent:                           27 -Apr-18 12:3403 PM
        Subject:                        RE: JERA Consent




        Jerod:

        We needed to get a NDA in place and I did not want to send this to everyone. Can you try to recall that
        email   Jeff



        BLACKJEWE
        Jefflimps
        Blackjewel L.L.C.
        1051 Main Street
        Milton, WV 25541

        Email: jeff.hoops©blackjewel.us
        Office: 304-390-5920
        Fax: 304-290-5975
        Cell: 304-541-2059

          óf Col

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        From: Jerod Mount [mailtojerod.mountglexingtoncoal.us]
        Sent: Friday, April 27, 2018 8:33 AM
        To: Jeff Hoops <Jeff.Hoops©blackjewel.us>, Joseph Bunn <Joseph.Bunn@Steptoe-Johnson.com>; Collier,
        Bryon <Bryon.Collier@Dinsmore.com>; Cunningham, Edward <Edward.Cunningham©Dinsmore.com>;
        Peter Bradley <Peter.Bradleygjavelincommodities.com>
        Cc: jobunn©centralcoal.com, Jim Bunn II <jbunn2©gmail.com>; Steven Poe
        <Steven.Poe@lexingtoncoal.us>; Clark Wisman <clark@centralcoal.com>; Roger Nicholson
        <RogerNicholson©Steptoe-Johnson.com>; Tyler Carpenter <Tyler.Carpenter@Steptoe-Johnson.com>;
        James Adkins <James.Adkins©Steptoe-Johnson.com>
        Subject: RE: JERA Consent




                 E)(INTQN
        r.n•Cte.1.04,, trOtwAylkINNe.


        Jerod Mount
        Controller
        Lexington Coal Company
        Office - (304) 390-5918
        Cell — (304) 942-2464

        From: Jeff Hoops <Jeff.Hoopsnblackjewel.us>
        Sent: Friday, April 27, 2018 8:30 AM


CONFIDENTIAL                                                                                                                 DEBTORSUB_003993
               Case 3:20-ap-03007           Doc 141-2         Filed 12/14/21         Entered 12/14/21 16:43:55               Desc
        To: Joseph Bunn <Joseph.BunnaSteptoe-Johnson.com>:
                                                Exhibit 2 PageCollier,
                                                                 15 of Bryon
                                                                         23 <Brvon.Collier0Dinsmore.com>;
        Cunningham, Edward <Edward.CunninqhamaDinsmore.com>; Peter Bradley
        <Peter.Bradley@javelincommodities.com>; Jerod Mount <jerod.mountalexinqtoncoal.us>
        Cc: jobunnacentralcoal.com; Jim Bunn II lbunn2aamail.com>; Steven Poe
        <Steven.Poe(lexinatoncoal.us>; Clark Wisman <clarkacentralcoal.com>; Roger Nicholson
        <RogerNicholsongSteptoe-Johnson.com>; Tyler Carpenter <Tyler.CarpenteraSteptoe-Johnson.corn>;
        James Adkins <James.Adkins@Steptoe-Johnson.com>
        Subject: RE: JERA Consent

        Joe:

        Below is a summary of the ownership structure as requested:

                1) Lexington Coal is a totally separate legal entity from Blackjewel, LLC and Revelation Energy, LLC
                          a. Lexington Coal Ownership
                                   i. 90% Lexington Coal Trust
                                      1. Patricia A. Hoops, Trustee
                                 ii. 10% Steve Poe
                2) Blackjewel, LLC
                          a. 62.5% owned by Lime Rock Partners, Fund V
                          b. 37.5% owned by Blackjewel Trust
                                   i. Jeremy Hoops, Trustee
                3) Revelation Energy, LLC
                          a. 62.5% owned by Lime Rock Partners, Fund V
                          b. 37.5% owned by Hoops Family Dynasty Trust
                                   i. Jeffery A. Hoops II, Trustee

        Lexington Coal has been in business for 14 years, but does not have audited statements for prior years and
        is in the process of having an audit done for 2017. Would like to put a NDA in place with JERA and we will
        provide 12/31/17 Financial Statements           Thanks Jeff



        BLACKIEWEL
        JeffHoops
        Blackjewel L.L.C.
        1051 Main Street
        Milton, WV 25541

        Email: jeff.hoopsOblackjewel.us
        Office: 304-390-5920
        Fax: 304-290-5975
        Cell: 304-541-2059



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        From: Joseph Bunn [mailto:Joseph.Bunn@Steptoe-Johnson.com]
        Sent: Friday, April 27, 2018 8:01 AM
        To: Jeff Hoops <Jeff.Hoopsablackjewel.us>; Collier, Bryon <Bryon.CollieraDinsmore.com>; Cunningham,
        Edward <Edward.CunninghamaDinsmore.com>; Peter Bradley <Peter.Bradleyftjavelincommodities.com>
        Cc: jobunn©centralcoal.com; Jim Bunn II <jbunn2©qmail.com>; Steven Poe
        <Steven.PoeOlexingtoncoal.us>; Clark Wisman <clarkacentralcoal.com>; Roger Nicholson
        <Roger.Nicholson@Steptoe-Johnson.com>; Tyler Carpenter <Tyler.Carpenter@Steptoe-Johnson.corn>;
        James Adkins <James.AdkinsV4Steptoe-Johnson.com>
        Subject: RE: JERA Consent


CONFIDENTIAL                                                                                                                 DEBTORSUB_003994
               Case 3:20-ap-03007            Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55                              Desc
        Dear Jeff,                                  Exhibit 2 Page 16 of 23
        We will evaluate this proposal with our client. In the interim, could you please provide the information sought
        by JERA?

        Thank you,

        Joseph Bunn
        0: 304-353-8106
        F: 304-353-8180
        C: 304-549-9090


        From: Jeff Hoops [ma ilto:Jeff.Hoops@blackjewel.us]
        Sent: Friday, April 27, 2018 7:53 AM
        To: Joseph Bunn; Collier, Bryon; Cunningham, Edward; Peter Bradley
        Cc: jobunn@centralcoaLcom; Jim Bunn II; Steven Poe; Clark Wisman; Roger Nicholson; Tyler Carpenter; James Adkins
        Subject: RE: JERA Consent

        Joe:

        They want paid to do that, so why not leave it the way it is and we will post credit with you and give you a
        guarantee as we have done that a number of times. We can just replace your LC            Thanks.. ..Jeff



        BLACKIEWEL
        JeffHoops
        Blackjewel L.L.C.
        1051 Main Street
        Milton, WV 25541

        Email: jeff.hoops@blackjewel.us
        Office: 304-390-5920
        Fax: 304-290-5975
        Cell: 304-541-2059

          re,bto6a1
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        message in error, please do not read it, notify the sender and then delete.



        From: Joseph Bunn [mailto:Joseph.BunnaSteptoe-Johnson.com]
        Sent: Friday, April 27, 2018 7:41 AM
        To: Collier, Bryon <Bryon.Collier@Dinsmore.com>; Cunningham, Edward
        <Edward.Cunningham@Dinsmore.com>
        Cc: jobunnacentralcoalcom; Jim Bunn II lbunn2@gmail.com>; Steven Poe
        <Steven.Poe@lexingtoncoal.us>; Jeff Hoops <Jeff.Hoops@blackjewel.us>; Clark Wisman
        <clarkncentralcoal.com>; Roger Nicholson <RocierNicholsonASteptoe-Johnson.com>; Tyler Carpenter
        <Tyler.Carpenter@Steptoe-Johnson.com>; James Adkins <James.Adkins@Steptoe-Johnson.com>
        Subject: FW: JERA Consent

        Dear Bryon and Eddie,

        Could you please address the 2 final points referenced by Chris below? We cannot get this deal across the
        finish line until the credit evaluation is complete. Alternatively, as previously noted, it is our understanding
        that Javelin already has credit in place with JERA. Isn't there a way for Javelin to provide credit and you
        guys can settle up on the backend?

        Thank you,


CONFIDENTIAL                                                                                                                 DEBTORSUB_003995
               Case 3:20-ap-03007          Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55                          Desc
                                                  Exhibit 2 Page 17 of 23
        Joseph Bunn
        0:304-353-8106
        F: 304-353-8180
        C: 304-549-9090


        From: Chris Savage [mailto:Chris.Savage©Jeratrading.com]
        Sent: Thursday, April 26, 2018 6:40 PM
        To: Joseph Bunn
        Cc: Clark Wisman; jobunn@centralcoal.com; Jim Bunn II; Collier, Bryon; Cunningham, Edward; Roger Nicholson;
        James Adkins; Tyler Carpenter; Grp USCoal; Kosuke Hosono (JERAT)
        Subject: Re: JERA Consent

        Joe,
        I have added Kosuke Hosono of JERAT Credit to this email so he can ask questions directly.

        As I mentioned to Bryon, JERAT credit group in Singapore is reviewing and I have asked them that we
        expedite.

        I have heard a comment back from Legal that the CBR L/C contains more robust language so perhaps they
        will come back requesting that format.

        As to credit provider, United is not as large as BBT but it may still be deemed sufficient given the size of the
        credit support for this transaction.

        Other than that, Hoops has a lot of different companies and references Black Jewel in a presentation, but
        Lexington on our counterparty registration form. Admittedly I don't know all the various company
        relationships myself. I also recognize Hoops with Revelation. A better understanding of these various
        entities and their relationships would be helpful. If this could be provided, it certainly would be helpful in the
        approval process.

        I also understand that with an L/C, we have bank credit but when our credit group asks for three year prior
        financials and mgmt profiles, just the L/C may not suffice. Blackjewel was recently formed but it didn't come
        from nowhere so consolidated historical financials would facilitate as well. We would be fine if Blackjewel
        wants JERAT to sign an NDA and show financials directly to JERAT credit staff.

        Regards,
        Chris

        On Apr 26, 2018, at 3:07 PM, Joseph Bunn <Joseph.BunnASteptoe-Johnson.com> wrote:

        Dear Chris,

        Any news on this front?

        Thank you,

        Joseph Bunn
        0:304-353-8106
        F: 304-353-8180
        C: 304-549-9090


        From: Joseph Bunn
        Sent: Thursday, April 26, 2018 11:11 AM
        To: Chris Savage
        Cc: 'Clark Wisnrian'; jobunn©centralcoal.com; Jim Bunn II; 'Collier, Bryon'; Cunningham, Edward; Roger L. Nicholson
        (roger.nicholson@steptoe-johnson.com); James Adkins; Tyler Carpenter
        Subject: FW: JERA Consent

        Good morning, Chris. Bryon has provided me periodic updates of where JERA stands in evaluating the
        assignment of the CBR purchase confirmation. Given that Blackjewel is prepared to provide a letter of
        credit, is it safe to assume that Jera will consent to the transfer? We are trying to close tomorrow.


CONFIDENTIAL                                                                                                             DEBTORSUB_003996
               Case 3:20-ap-03007          Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55                    Desc
                                                  Exhibit 2 Page 18 of 23
        Thank you,

        Joseph Bunn
        0: 304-353-8106
        F: 304-353-8180
        C: 304-549-9090


        From: Collier, Bryon [mailto:Bryon.Collier©Dinsmore.corn]
        Sent: Thursday, April 26, 2018 10:34 AM
        To: Joseph Bunn; Roger Nicholson; James Adkins
        Subject: FW: JERA Consent



        <image001.jpg>
        Bryon D. Collier
        Associate

        Dinsmore & Shohl LLP • Legal Counsel
        611 Third Avenue
        Huntington, VVV 25701
        T (304) 691-8347 • F (304) 522-4312
        E bryon.collieradinsmore.com • dinsmore.com
        From: Collier, Bryon
        Sent: Wednesday, April 25, 2018 5:35 PM
        To: 'Chris Savage'
        Cc: Jeffery A. Hoops; Steven Poe; Cunningham, Edward; Grp_USCoal
        Subject: RE: JERA Consent

        Chris:

        Attached is a copy of the draft LOC which will be put in place of the existing LOC.

        Thanks,

        Bryon

        <image001.jpg>
        Bryon D. Collier
        Associate

        Dinsmore & Shohl LLP • Legal Counsel
        611 Third Avenue
        Huntington, VW 25701
        T (304) 691-8347 • F (304) 522-4312
        E bryon.collier@dinsmore.com • dinsmore.com
        From: Chris Savage [rnailto:Chris.Savage©Jeratrading.com]
        Sent: Monday, April 23, 2018 4:21 PM
        To: Collier, Bryon
        Cc: Jeffery A. Hoops; Steven Poe; Cunningham, Edward; Grp_USCoal
        Subject: RE: JERA Consent

        Bryon,
        I just reviewed the packet again and I don't see the historical financials or management profile for Blackjewel
        LLC. However, you also state they don't exist so I guess you sent me on a goose chase.

        I will forward what you have sent on to my credit team and revert with any questions.
        Regards,
        Chris



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               Case 3:20-ap-03007            Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55                  Desc
                                                    Exhibit 2 Page 19 of 23
        From: Collier, Bryon [nnailto:Bryon.Collier©Dinsmore.corn]
        Sent: 23 April 2018 16:03
        To: Chris Savage <Chris.SavagegJeratrading.com>
        Cc: Jeffery A. Hoops <jhoopsArevelenerqy.corn>; Steven Poe <Steven.Poenlexingtoncoal.us>,
        Cunningham, Edward <Edward.CunninqhamnDinsmore.com>; Grp_USCoal
        <Grp USCoalajeratradinq.com>
        Subject: RE: JERA Consent


        Chris:

        I believe the management profiles and historical financial information are in the packet. Audited Financial
        statements simply don't exist, as we are dealing with recently created entities, but we do have the LOC
        (similar to the one already in place). That should get you to where you need to be.

        Thanks,

        Bryon

        <image001.jpg>
        Bryon D. Collier
        Associate


        Dinsmore & Shohl LLP • Legal Counsel
        611 Third Avenue
        Huntington, VW 25701
        1(304) 691-8347 • F (304) 522-4312
        E bryon.collier@dinsmore.com • dinsmore.com

        From: Chris Savage [niailto:Chris.Savage@Jeratrading.com]
        Sent: Monday, April 23, 2018 2:48 PM
        To: Collier, Bryon
        Cc: Jeffery A. Hoops; Steven Poe; Cunningham, Edward; Grp USCoal
        Subject: RE: JERA Consent

        Bryon,
        Thanks for your email.

        I received from you a presentation on Black Jewel Marketing and Sales last week followed up by our
        standard counterparty registration form over the weekend. I appreciate you sending those over. I believe we
        are now only waiting on prior three year audited historical financials and management profiles_ As your client
        is requesting Black Jewel be the guarantor, I believe this is the entity for which we require financial and
        mgmt. information. Once we have everything, I will have JERAT Credit Group review promptly.
        Regards,
        Chris

        From: Collier, Bryon [mailto:Bryon.Collier@Dinsmore.corn]
        Sent: 23 April 2018 11:48
        To: Chris Savage <Chris.Savaqe@Jeratradinq.com>
        Cc: Jeffery A. Hoops <jhoopsOrevelenergy.com>: Steven Poe <Steven.Poeglexingtoncoal.us>;
        Cunningham, Edward <Edward.Cunningham©Dinsmore.com>
        Subject: RE: JERA Consent

        Chris:

        Just checking in on the status of your review of the JERA consent, as closing is scheduled for Wednesday.
        If you have any questions, please do not hesitate to ask.

        Thanks,




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               Case 3:20-ap-03007          Doc 141-2 Filed 12/14/21 Entered 12/14/21 16:43:55                 Desc
        Bryon                                     Exhibit 2 Page 20 of 23
        <image001.jpg>
        Bryon D. Collier
        Associate


        Dinsmore & Shohl LLP • Legal Counsel
        611 Third Avenue
        Huntington, VW 25701
        T (304) 691-8347 • F (304) 522-4312
        E bryon.collier@dinsmore.com • dinsmore.com
        From: Collier, Bryon
        Sent: Saturday, April 21, 2018 8:20 AM
        To: 'Chris.Savacie@Jeratradinq.com'
        Cc: 'Jeffery A. Hoops'; 'Steven Poe'; Cunningham, Edward
        Subject: RE: JERA Consent

        Chris:

        Attached is the Counterparty Registration Form. If you have any questions, please feel free to contact me.

        Thanks,

        Bryon

        <image001.jpg>
        Bryon D. Collier
        Associate


        Dinsmore & Shohl LLP • Legal Counsel
        611 Third Avenue
        Huntington, VVV 25701
        T (304) 691-8347 • F (304) 522-4312
        E bryon.collier@dinsmore.com • dinsmore.com
        From: Collier, Bryon
        Sent: Thursday, April 19, 2018 4:31 PM
        To: 'Chris.Savage@Jeratrading.com'
        Cc: Jeffery A. Hoops; Steven Poe; Cunningham, Edward
        Subject: RE: JERA Consent

        Chris:

        Attached please find the Blackjewel Marketing and Sales KYC package. The Counterparty registration form
        is being completed and I will send it your way once complete.

        Thanks,

        Bryon

        <image001.jpg>
        Bryon D. Collier
        Associate


        Dinsmore & Shohl LLP • Legal Counsel
        611 Third Avenue
        Huntington, WV 25701
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        E bryon.collier@dinsmore.com • dinsmore.com




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        From: Chris Savage <Chris.SavacreaJeratradinq.com>
                                               Exhibit 2 Page                                  21 of 23
        Date: April 19, 2018 at 3:59:46 PM EDT
        To: 'Clark Wisman' <ClarkWismancentralcoal.com>
        Cc: Grp_USCoal <Grp USCoal©jeratrading.com>
        Subject: RE: JERA Consent

        Clark,
        Thanks. As I mentioned to you, we have not yet done any business with Black Jewel Marketing and Sales,
        LLC. JERAT will require the following information from Black Jewel, LLC for our new counterparty
        setup/onboarding process:

             -      Counterparty registration form — please fill up the attached
             -      Group shareholder structure
                    The latest 3 years audited and consolidated financials for Black Jewel and group consolidated
                   company
             -      Management profiles (CEO, COO, CFO, etc..)
                    Brief presentation of group operations

        Please forward to the appropriate contact at Black Jewel.
        Regards,
        Chris

        From: Clark Wisman [mailto:ClarkVVismanncentralcoal.com]
        Sent: 18 April 2018 15:20
        To: Chris Savage <>
        Subject: FW: JERA Consent
        Importance: High

        Dear Chris,
        I've been asked to pass this proposed consent to you. Please review and share internally for comments and
        or approval.
        Regards,
        Clark


        From: Joseph Bunn [rnailto:Joseph.Bunn©Steptoe-Johnson.corn]
        Sent: Wednesday, April 18, 2018 2:58 PM
        To: Clark Wisman

        Subject: JERA Consent
        Importance: High

        Dear Clark,

        At your earliest convenience, could you please pass this proposed consent along to Chris Savage for his
        review and approval? This proposed consent represents the collective input of CRE and LCC and both
        parties have signed off on the contents thereof. Hopefully, JERA will do so too.

        Please let me know if you have any questions.

        Thank you,

        Joseph Bunn
        0:304-353-8106
        F: 304-353-8180
        C: 304-549-9090




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                                                                 Exhibit 2 Page 22 of 23
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                                                                 Exhibit 2 Page 23 of 23
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